                                                                                                    Electronically Filed - Clay - July 16, 2019 - 04:29 PM
           IN THE CIRCUIT COURT OF CLAY COUNTY, LIBERTY, MISSOURI

RICHARD SHANE JACKSON,                                      )
P.O. Box 61                                                 )
Lexington, Missouri 64067,                                  )
                                                            )
                Plaintiff,                                  )    Case No.     19CY-CV06278
                                                            )
                                                            )
MAVERICK TRUCKING & EXCAVATING, LLC,                        )      Div No.           4
Serve at: 11222 NE 131st. St.                               )
          Liberty, Missouri 64068                           )
                                                            )   JURY TRIAL DEMANDED
JEFF SOLIGO CONSTRUCTION CO., INC.                          )
Serve at: 11222 NE 131st. St.                               )
          Liberty, Missouri 64068                           )
                                                            )
and                                                         )
                                                            )
JEFFREY M. SOLIGO,                                          )
Serve at: 9236 N. Kentucky Ave                              )
          Kansas City, Missouri 64157                       )
                                                            )
                Defendants.                                 )


                                 FIRST AMENDED PETITION

       COMES NOW Plaintiff Richard Shane Jackson (“Shane Jackson”), by and through his

attorney of record, and for his First Amended Petition against Defendants Maverick Trucking &

Excavating, LLC (“Maverick Trucking”), Jeff Soligo Construction Co., Inc. (“Soligo

Construction”), and Jeff Soligo (collectively, the “Defendants”), hereby states and alleges as

follows:



                             PARTIES, JURISDICTION, AND VENUE

       1.       Plaintiff Richard Shane Jackson is a resident and citizen of Lexington, Lafayette

County, Missouri.

                                                                                         EXHIBIT
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           Case 4:19-cv-00743-GAF Document 1-2 Filed 09/11/19 Page 1 of 19
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                                                                                                      Electronically Filed - Clay - July 16, 2019 - 04:29 PM
          2.    Defendant Maverick Trucking & Excavating, LLC is a Missouri Limited Liability

Company and its registered agent Carol Diane Soligo may be served at the registered business

address: 11222 NE 131st St., Liberty, Missouri 64068.

          3.    Defendant Jeff Soligo Construction Co., Inc. is a Missouri Corporation and its

registered agent Jeffrey M. Soligo may be served at the registered business address: 11222 NE

131st St., Liberty, Missouri 64068.

          4.    Defendant Jeffrey M. Soligo is a citizen and resident of Clay County, Missouri and

may be served at his residence: 9236 N. Kentucky Ave., Kansas City, Missouri 64157, or the

registered business address of Soligo Construction: 11222 NE 131st St., Liberty, Missouri 64068.

          5.    The Defendants are subject to jurisdiction in this Court through Missouri

citizenship, conducting business in Missouri, and commission of a tortious act in Missouri.

Jurisdiction is also proper in this Court because 29 U.S.C. § 216 authorizes suit in any Federal or

State court for violating 29 U.S.C. § 206 by paying below minimum wage.

          6.    Venue is proper in this Court pursuant to MO. REV. STAT. section 508.010 because

Plaintiff was first injured in Clay County, Missouri by the wrongful acts of Defendants alleged

herein.

               GENERAL ALLEGATIONS APPLICABLE TO ALL COUNTS

          7.    In or around June of 2017, Plaintiff Shane Jackson began working for Maverick

Trucking and Soligo Construction driving trucks for them.

          8.    Defendants Maverick Trucking and Soligo Construction agreed to pay Shane

Jackson 30 percent (30 %) of the gross proceeds received from the use of the truck Richard Jackson

operated for them.




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           Case 4:19-cv-00743-GAF Document 1-2 Filed 09/11/19 Page 2 of 19
                                                                                                        Electronically Filed - Clay - July 16, 2019 - 04:29 PM
        9.      On or about April 17, 2019, Defendants paid Shane Jackson $1,439.13, which is 30

percent (30 %) of the $4,797.10 gross proceeds received for the use of the truck. This was the last

time Defendants properly paid Plaintiff according to their agreement. (See, Exhibit 1: Pay

Statement for week ending April 7, 2019).

        10.     On or about April 10, 2019, Plaintiff was involved in an accident that required a

tow out of the ditch. The towing company charged the Defendants $275.00 for towing the truck

out of the ditch.

        11.     Defendants wrongfully withheld $275.00 from Plaintiff’s paycheck for the tow bill.

        12.     Through agreement and course of dealing, Defendants have a contract to pay

Plaintiff 30 percent (30 %) of the gross proceeds received from the truck Plaintiff drives for them.

        13.     From April 8, 2019 to April 14, 2019, Plaintiff operated the truck for 79.5 hours.

        14.     Upon information and belief, for the week ending April 14, 2019, Defendants billed

the truck at $110.00 per hour, for a total of $8,745.00.

        15.     Defendants were required to pay Plaintiff 30 percent (30 %) of the gross proceeds

received from the use of the truck, or $2,623.50 for the week ending April 14, 2019.

        16.     For the week ending April 14, 2019, instead of paying Plaintiff 30 percent (30 %)

of the gross proceeds for the use of the truck, Defendants paid Plaintiff only $408.70 for 79.5 hours

of driving, which amounts to $5.14 per hour. After tax withholding, Plaintiff received a check for

$371.43 for 79.5 hours of driving. (See, Exhibit 2: Paycheck for Week ending April 14, 2019).

        17.     Upon information and belief, Defendants paid Plaintiff minimum wage of $8.60

per hour for 79.5 hours for the week ending April 14, 2019, but wrongfully deducted $275.00 from

Plaintiff’s paycheck for the tow bill, which brought Plaintiff’s pay below minimum wage for the

week ending April 14, 2019.



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         Case 4:19-cv-00743-GAF Document 1-2 Filed 09/11/19 Page 3 of 19
                                                                                                    Electronically Filed - Clay - July 16, 2019 - 04:29 PM
        18.    For the week ending April 14, 2019, Plaintiff’s pay was $275.00 below minimum

wage.

        19.    Plaintiffs did not provide notice of a reduction in pay, as required by RSMO §

290.100, from the agreed upon 30 percent (30 %) of the gross proceeds received from the use of

the truck.

        20.    After receiving a complaint from the Department of Labor, Defendants added

$168.67 to Plaintiff’s pay for the following week ending April 21, 2019. (See, Exhibit 3: Pay

Statement for Week Ending April 21, 2019). Adding $168.67 to Plaintiff’s pay still did not even

bring Plaintiff’s pay to minimum wage because Plaintiff’s pay for the week ending April 14, 2019

was $275.00 below the minimum wage.

        21.    For the week ending April 21, 2019, Plaintiff worked 26.5 hours. (See, Exhibit 3).

        22.    For the week ending April 21, 2019, Defendants falsely claimed that the truck was

billed out at minimum wage for a total of $227.90. (See, Exhibit 3).

        23.    The truck was used for work on the railroad, which had previously been billed out

at $110.00 per hour. Upon information and belief, Defendants received $2,915.00 from the railroad

for the 26.5 hours that the truck was used.

        24.    At 30 percent (30 %) of the gross proceeds from the use of the truck, as agreed,

Defendants owed Plaintiff $874.00 for the week ending April 21, 2019.

        25.    For the week ending April 21, 2019, Defendants paid Plaintiff only $68.37 for 26.5

hours of work, which is a rate of $2.58 per hour. Upon information and belief, Defendants falsely

claimed to bill out the truck at minimum wage and paid Plaintiff only 30 percent (30 %) of the

minimum wage. (See, Exhibit 3).




                                                4

         Case 4:19-cv-00743-GAF Document 1-2 Filed 09/11/19 Page 4 of 19
                                                                                                          Electronically Filed - Clay - July 16, 2019 - 04:29 PM
       26.     Upon information and belief Defendants violated Federal and Missouri minimum

wage laws by paying Plaintiff below minimum wage for the weeks ending April 14, 2019 and

April 21, 2019. See, 29 U.S.C. § 206 and RSMO § 290.520.

       27.     Upon information and belief, Defendants regularly pressured the Plaintiff to exceed

the maximum of 60 hours driving per week contained in 49 C.F.R. § 395.3.

       28.     Upon information and belief, if Plaintiff refused loads, even loads that would put

the Plaintiff over his maximum driving hours for the day or week, Defendants would punish the

Plaintiff by not giving him any work.

       29.     The Defendants pressuring Plaintiff to work beyond the maximum hours permitted

for driving caused Plaintiff a high degree of stress and negatively impacted his health.

       30.     Defendants terminated Plaintiff on April 16, 2019 and the paycheck for the week

ending April 21, 2019 was Plaintiff’s last paycheck.

       31.     The Defendants overworking Plaintiff, terminating Plaintiff, and refusing to pay

Plaintiff the amount he was owed, caused the Plaintiff a tremendous amount of stress and anguish,

and negatively impacted his health.

       32.     The Defendants overworking the Plaintiff, terminating the Plaintiff, and refusing to

pay Plaintiff the amount he was owed, caused the Plaintiff to have to relocate with his family to a

motel and sometimes live out of his vehicle until such time he can afford to make arrangements to

move into an apartment or house.

       33.     On June 26, 2019, after the filing of the original Petition, Plaintiff suffered a stroke

and spent several days in the hospital, as a direct and proximate result of the stress caused by the

Defendants overworking the Plaintiff, terminating the Plaintiff, and refusing to pay the Plaintiff

what Defendants owed to the Plaintiff.



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        Case 4:19-cv-00743-GAF Document 1-2 Filed 09/11/19 Page 5 of 19
                                                                                                      Electronically Filed - Clay - July 16, 2019 - 04:29 PM
                           COUNT I – BREACH OF CONTRACT

       34.     Plaintiff reincorporates by reference each and every statement, allegation and

averment contained in the preceding paragraphs as if fully set forth herein.

       35.     In or around June of 2017, Defendants and Plaintiff entered into an oral contract

whereby Plaintiff would drive a truck for Defendants and Defendants would pay Plaintiff 30

percent (30 %) of the gross proceeds received from Plaintiff’s use of the truck.

       36.     An oral agreement and course of dealing that manifests the agreement can create a

binding contract.

       37.     The contract between Defendants and Plaintiff was binding because Defendants

orally agreed to pay 30 percent (30 %) of the gross proceeds received from Plaintiff’s use of the

truck and did so from when Plaintiff began working for Defendants in June of 2017, until in or

around the beginning of April 2019.

       38.     Defendants had an enforceable duty to pay Plaintiff 30 percent (30 %) of the gross

proceeds received from the use of the truck.

       39.     Upon information and belief, the truck was billed out at $8,745.00 for the 79.5

hours the Plaintiff operated the truck during the week ending April 14, 2019. Thus, Defendants

owed Plaintiff $2,623.50 for the week ending April 14, 2019.

       40.     Defendants paid Plaintiff only $408.70 for the week ending April 14, 2019. Thus,

Defendants paid Plaintiff $2,214.80 less than required for the week ending April 14, 2019.

       41.     Upon information and belief, the truck was billed out at $2,915.00 for the 26.5

hours that the Plaintiff operated the truck during the week ending April 21, 2019. Thus, Defendants

owed Plaintiff $874.00 for the week ending April 21, 2019.




                                                 6

        Case 4:19-cv-00743-GAF Document 1-2 Filed 09/11/19 Page 6 of 19
                                                                                                        Electronically Filed - Clay - July 16, 2019 - 04:29 PM
       42.     Defendants paid Plaintiff only $68.37 for the week ending April 21, 2019. Thus,

Defendants paid Plaintiff $805.63 less than required for the week ending April 21, 2019.

       43.     For the weeks ending April 14, 2019 and April 21, 2019, Defendants underpaid

Plaintiff $3,020.00.

       44.     Upon information and belief, Defendants underrepresented the amount gross

proceeds obtained from Plaintiff’s use of the truck for other pay periods preceding April of 2019,

in order to reduce the amount Defendants paid to Plaintiff.

       45.     Defendants owe Plaintiff 30 percent (30 %) of any proceeds obtained from

Plaintiff’s use of the truck that were underrepresented by Defendants.

       46.     Defendants’ willful, wanton, reckless, extreme, and outrageous conduct, and

conscious disregard for the rights of Plaintiff exhibits illegal and amoral conduct that warrants the

imposition of punitive damages.

       WHEREFORE, Plaintiff prays for judgment against all Defendants for a reasonable sum

of money in excess of twenty-five thousand dollars ($25,000) as will fairly and reasonably

compensate Plaintiff Richard Shane Jackson for damages, for costs herein expended and incurred,

for prejudgment interest, for postjudgment interest, for attorney’s fees, and for such other and

further relief that the Court deems just and proper under the circumstances.

 COUNT II – VIOLATION OF RSMO § 290.520 and 29 U.S.C. § 206 FOR WAGES PAID
                       BELOW MINIMUM WAGE

       47.     Plaintiff reincorporates by reference each and every statement, allegation and

averment contained in the preceding paragraphs as if fully set forth herein.

       48.     In accordance with 29 U.S.C. § 206, the Federal minimum wage is $7.25 per hour.




                                                 7

        Case 4:19-cv-00743-GAF Document 1-2 Filed 09/11/19 Page 7 of 19
                                                                                                      Electronically Filed - Clay - July 16, 2019 - 04:29 PM
       49.     In accordance with RSMO § 290.520, the minimum wage for Missouri is the greater

of the Federal minimum wage or $8.60 per hour. Thus, the minimum wage for Missouri is $8.60

per hour.

       50.     For the week ending April 14, 2019, Plaintiff worked 79.5 hours.

       51.     The minimum wage for working 79.5 hours is $683.70.

       52.     Defendants paid Plaintiff only $408.70 for 79.5 hours of work for the week ending

April 14, 2019. This equals a rate of only $5.14 per hour.

       53.     Defendants violated RSMo § 290.520 and 29 U.S.C. § 206 for paying Plaintiff a

rate of only $5.14 per hour for the week ending April 14, 2019.

       54.     For the week ending April 21, 2019, Plaintiff worked 26.5 hours.

       55.     The minimum wage for working 26.5 hours is $227.90.

       56.     Defendants paid Plaintiff only $68.37 for 26.5 hours of work for the week ending

April 21, 2019. This equals a rate of only $2.58 per hour.

       57.     Defendants violated RSMo § 290.520 and 29 U.S.C. § 206 for paying Plaintiff a

rate of only $2.58 per hour for the week ending April 21, 2019.

       58.     For the weeks ending April 14, 2019 and April 21, 2019, Defendants underpaid

Plaintiff $3,020.00.

       59.     29 U.S.C. § 216 (b) authorizes employee suits for minimum wage violations in any

Federal or State Court of competent jurisdiction.

       60.     29 U.S.C. § 216 states: “The court in such action [action for violation of minimum

wage] shall, in addition to any judgment awarded to the plaintiff or plaintiffs, allow a reasonable

attorney’s fee to be paid by the defendant, and costs of the action. (emphasis added).




                                                 8

        Case 4:19-cv-00743-GAF Document 1-2 Filed 09/11/19 Page 8 of 19
                                                                                                        Electronically Filed - Clay - July 16, 2019 - 04:29 PM
         61.     29 U.S.C. § 216 provides for liquidated damages in an amount equal to the amount

of lost wages.

         62.     Defendants’ willful, wanton, reckless, extreme, and outrageous conduct, and

conscious disregard for the rights of Plaintiff exhibits illegal and amoral conduct that warrants the

imposition of punitive damages.

         WHEREFORE, Plaintiff prays for judgment against all Defendants for a reasonable sum

of money in excess of twenty-five thousand dollars ($25,000) as will fairly and reasonably

compensate Plaintiff Richard Shane Jackson for damages, for costs herein expended and incurred,

for prejudgment interest, for postjudgment interest, for attorney’s fees, and for such other and

further relief that the Court deems just and proper under the circumstances.

COUNT III – VIOLATION OF RSMO § 290.100 FOR FAILURE TO PROVIDE 30 DAYS
                NOTICE PRIOR TO REDUCTION OF WAGES

         63.     Plaintiff reincorporates by reference each and every statement, allegation and

averment contained in the preceding paragraphs as if fully set forth herein.

         64.     RSMO § 290.100 requires employers to provide employees with 30 days’ notice

prior to reducing wages.

         65.     Defendants agreed to pay Plaintiff 30 percent (30 %) of the gross proceeds received

from the Plaintiff’s use of the truck and did so from when Plaintiff began working for Defendants

in June of 2017 until the first week of April, 2019.

         66.     Defendants may not reduce Plaintiff’s wage without providing 30 days’ notice of

the reduction in wages.

         67.     Defendants did not provide Plaintiff with any notice that they were reducing his

wages.




                                                  9

          Case 4:19-cv-00743-GAF Document 1-2 Filed 09/11/19 Page 9 of 19
                                                                                                        Electronically Filed - Clay - July 16, 2019 - 04:29 PM
       68.     Even if Defendants could reduce Plaintiff’s wage to minimum wage, Federal law

and Missouri law prohibits employers from paying employees below minimum wage.

       69.     Defendants paid Plaintiff below minimum wage for Plaintiff’s last two pay periods

for the weeks ending April 14, 2019 and April 21, 2019.

       70.     RSMO § 290.100 provides: that “[an employer who fails to provide proper notice

of a wage reduction] shall forfeit [the difference in wages] and pay each party affected thereby the

sum of fifty dollars, to be recovered by civil action in the name of the injured party, with costs.”

       71.     Defendants’ willful, wanton, reckless, extreme, and outrageous conduct, and

conscious disregard for the rights of Plaintiff exhibits illegal and amoral conduct that warrants the

imposition of punitive damages.

       WHEREFORE, Plaintiff prays for judgment against all Defendants for a reasonable sum

of money in excess of twenty-five thousand dollars ($25,000) as will fairly and reasonably

compensate Plaintiff Richard Shane Jackson for damages, for costs herein expended and incurred,

for prejudgment interest, for postjudgment interest, for attorney’s fees, and for such other and

further relief that the Court deems just and proper under the circumstances.

                            COUNT IV – UNJUST ENRICHMENT

       72.     Plaintiff reincorporates by reference each and every statement, allegation and

averment contained in the preceding paragraphs as if fully set forth herein.

       73.     Plaintiff conferred a benefit upon Defendants in an amount equal to the amount of

underpaid wages.

       74.     On or about April 10, 2019, Plaintiff was in an accident and a tow truck needed to

tow the truck from the ditch. The tow company charged Defendants $275.00 for the tow.

       75.     Plaintiff is not responsible for the $275.00 tow charge.



                                                 10

        Case 4:19-cv-00743-GAF Document 1-2 Filed 09/11/19 Page 10 of 19
                                                                                                        Electronically Filed - Clay - July 16, 2019 - 04:29 PM
       76.     Defendants wrongfully and unjustly withheld $275.00 from Plaintiff’s paycheck

for the week ending April 14, 2019 for the tow charge.

       77.     Plaintiff conferred a benefit upon Defendants in the amount of $275.00.

       78.     Defendants appreciated the benefits of the wages they underpaid and the tow charge

they withheld from Plaintiff’s paycheck.

       79.     The Defendants accepted and retained the benefits of the underpaid wages and tow

charge under circumstances that are inequitable and unjust.

       80.     Plaintiff is damaged in the amount of the underpaid wages and the tow charge

Defendants wrongfully withheld from Plaintiff’s pay.

       81.     Defendants’ willful, wanton, reckless, extreme, and outrageous conduct, and

conscious disregard for the rights of Plaintiff exhibits illegal and amoral conduct that warrants the

imposition of punitive damages.

       WHEREFORE, Plaintiff prays for judgment against all Defendants for a reasonable sum

of money in excess of twenty-five thousand dollars ($25,000) as will fairly and reasonably

compensate Plaintiff Richard Shane Jackson for damages, for costs herein expended and incurred,

for prejudgment interest, for postjudgment interest, for attorney’s fees, and for such other and

further relief that the Court deems just and proper under the circumstances.

            COUNT V – NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

       82.     Plaintiff reincorporates by reference each and every statement, allegation and

averment contained in the preceding paragraphs as if fully set forth herein.

       83.     Defendants have a legal duty to pay Plaintiff according to the terms of their implied

contract.

       84.     Defendants have a legal duty to pay Plaintiff minimum wage or higher.



                                                 11

        Case 4:19-cv-00743-GAF Document 1-2 Filed 09/11/19 Page 11 of 19
                                                                                                       Electronically Filed - Clay - July 16, 2019 - 04:29 PM
       85.     Defendants have a legal duty not to reduce Plaintiff’s wages without providing 30-

day’s advance notice.

       86.     Defendants breached their duty to Plaintiff by paying Plaintiff less than minimum

wage with no notice.

       87.     Defendants knew or should have known that their conduct in refusing to pay

Plaintiff what they owed Plaintiff, reducing Plaintiff’s wages with no notice, paying Plaintiff less

than minimum wage, and terminating Plaintiff with no notice involved an unreasonable risk of

causing distress.

       88.     Defendants’ failure to pay Plaintiff what they owed Plaintiff, failure to provide

notice before reducing wages, failure to pay Plaintiff above minimum wage, and termination of

Plaintiff with no notice was the proximate cause of the severe distress suffered by Plaintiff.

       89.     The severe distress Defendants caused Plaintiff through their illegal and negligent

conduct by underpaying Plaintiff is medically significant because the distress resulted in Plaintiff

suffering a stroke and being hospitalized for several days.

       90.     Defendants had a duty to Plaintiff not to pressure or even allow Plaintiff to drive

over the maximum hour limits set by the Missouri Department of Transportation.

       91.     The Missouri Department of Transportation has adopted the driving hour limits set

forth in 49 C.F.R. § 395.3.

       92.     Upon information and belief Defendants routinely pressured Plaintiff to drive

beyond the limits enumerated in 49 C.F.R. § 395.3 and adopted by the Missouri Department of

Transportation.

       93.     49 C.F.R. § 395.3(a)(1) and the Missouri Department of Transportation prohibit a

driver from driving without first taking 10 consecutive hours off duty.



                                                 12

        Case 4:19-cv-00743-GAF Document 1-2 Filed 09/11/19 Page 12 of 19
                                                                                                       Electronically Filed - Clay - July 16, 2019 - 04:29 PM
       94.     Upon information and belief Defendants routinely pressured Plaintiff to drive

without having 10 consecutive hours off-duty.

       95.     49 C.F.R. § 395.3(a)(3) and the Missouri Department of Transportation prohibit a

driver from driving more than 11 hours during any 24-hour period.

       96.     Upon information and belief, Defendants regularly pressured Plaintiff to drive more

than 11 hours during a 24-hour period.

       97.     49 C.F.R. § 395.3(b)(1) and the Missouri Department of Transportation prohibit a

driver from operating a commercial motor vehicle more than 60 hours during any period of 7

consecutive days.

       98.     Upon information and belief, Defendants regularly pressured Plaintiff to drive more

than 60 hours during a period of 7 consecutive days.

       99.     During the week ending April 14, 2019, Plaintiff operated the truck for 79.5 hours.

This averages to 11.36 hours per day during that seven-day period. Upon information and belief,

this is just one example of Defendants overworking the Plaintiff in blatant violation of the driving

hour limits set forth in 49 C.F.R. § 395.3 and adopted by the Missouri Department of

Transportation.

       100.    Upon information and belief, Defendants pressured Plaintiff to exceed maximum

driving times by punishing Plaintiff when he refused trips by not employing him to drive at all for

long stretches and/or threatening to withhold trips, if Plaintiff refused to exceed maximum hours.

       101.    Defendants breached their duty to Plaintiff by pressuring Plaintiff to exceed the

driving limits set forth in 49 C.F.R. § 393.3 and adopted by the Missouri Department of

Transportation.




                                                13

        Case 4:19-cv-00743-GAF Document 1-2 Filed 09/11/19 Page 13 of 19
                                                                                                         Electronically Filed - Clay - July 16, 2019 - 04:29 PM
       102.    Defendants knew or should have known that overworking Plaintiff and pressuring

Plaintiff to exceed the maximum driving hours set forth in 49 C.F.R. § 393.3 and adopted by the

Missouri Department of Transportation involved an unreasonable risk of causing distress.

       103.    The Defendants pressuring Plaintiff to exceed maximum driving hours is the

proximate cause of the severe distress suffered by Plaintiff.

       104.    The severe distress suffered by Plaintiff is medically significant because the distress

led to Plaintiff suffering a stroke for which he was hospitalized for several days.

       105.    On June 26, 2019, Plaintiff suffered a stroke and was hospitalized for several days

as a direct and proximate result of being overworked, by the Defendants, in addition to the stress

of being terminated and being paid less than minimum wage for the work he performed.

       106.    Defendants’ willful, wanton, reckless, extreme, and outrageous conduct, and

conscious disregard for the rights of Plaintiff exhibits illegal and amoral conduct that warrants the

imposition of punitive damages.

       WHEREFORE, Plaintiff prays for judgment against all Defendants for a reasonable sum

of money in excess of twenty-five thousand dollars ($25,000) as will fairly and reasonably

compensate Plaintiff Richard Shane Jackson for damages, for costs herein expended and incurred,

for prejudgment interest, for postjudgment interest, for attorney’s fees, and for such other and

further relief that the Court deems just and proper under the circumstances.

        COUNT VI – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       107.    Plaintiff reincorporates by reference each and every statement, allegation and

averment contained in the preceding paragraphs as if fully set forth herein.

       108.    Defendants acted intentionally and recklessly by pressuring Plaintiff to exceed

maximum driving hours.



                                                 14

        Case 4:19-cv-00743-GAF Document 1-2 Filed 09/11/19 Page 14 of 19
                                                                                                        Electronically Filed - Clay - July 16, 2019 - 04:29 PM
          109.   Defendants acted intentionally and recklessly by reducing Plaintiff’s pay with no

notice.

          110.   Defendants acted intentionally and recklessly by paying Plaintiff less than

minimum wage, wrongfully withholding a tow charge from Plaintiff’s pay, then terminating

Plaintiff with no notice.

          111.   The Defendants’ conduct in pressuring Plaintiff to exceed maximum driving hours

is extreme and outrageous.

          112.   The Defendants’ conduct in reducing Plaintiff’s pay with no notice is extreme and

outrageous.

          113.   The Defendants’ conduct in paying Plaintiff less than minimum wage, wrongfully

withholding a tow charge from Plaintiff’s pay, and terminating Plaintiff with no notice is extreme

and outrageous.

          114.   The Defendant’s intentional, reckless, extreme, and outrageous conduct is the cause

of severe emotional distress suffered by the Plaintiff.

          115.   As a direct and proximate result of Defendants’ intentional, reckless, extreme, and

outrageous conduct, Plaintiff was forced to live with his family in a motel and out of his car.

          116.   As a direct and proximate result of Defendants’ intentional, reckless, extreme, and

outrageous conduct, Plaintiff was put under so much stress that he suffered a stroke and was

hospitalized for several days.

          117.   Defendants’ willful, wanton, reckless, extreme, and outrageous conduct, and

conscious disregard for the rights of Plaintiff exhibits illegal and amoral conduct that warrants the

imposition of punitive damages.




                                                 15

          Case 4:19-cv-00743-GAF Document 1-2 Filed 09/11/19 Page 15 of 19
                                                                                                   Electronically Filed - Clay - July 16, 2019 - 04:29 PM
       WHEREFORE, Plaintiff prays for judgment against all Defendants for a reasonable sum

of money in excess of twenty-five thousand dollars ($25,000) as will fairly and reasonably

compensate Plaintiff Richard Shane Jackson for damages, for costs herein expended and incurred,

for prejudgment interest, for postjudgment interest, for attorney’s fees, and for such other and

further relief that the Court deems just and proper under the circumstances.

       PLAINTIFF DEMANDS TRIAL BY JURY

                                             Respectfully submitted,

                                             By:/s/Damian F. Bakula________
                                             Damian F. Bakula #67938
                                             BAKULA LAW, LLC
                                             1828 Swift Ave., Suite 302
                                             North Kansas City, MO 64116
                                             Telephone: (816)385-1991
                                             Facsimile: (844) 645-7626
                                             damian@bakulalaw.com
                                             ATTORNEY FOR PLAINTIFF




                                                16

       Case 4:19-cv-00743-GAF Document 1-2 Filed 09/11/19 Page 16 of 19
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 Case 4:19-cv-00743-GAF Document 1-2 Filed 09/11/19 Page 17 of 19
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                                                                                                            Apr 24, 2019



                                                                                                               371.43
         Three Hundred Seventy-One and 43/100 Dollars



             Richard S. Jackson
             321 N 17th Street
             Lexington, MO 64067
                                                                                                              Duplicate




       Richard S . .Jackson                                                                Employee IC iackson
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  DICARE                            -5.93               -89.17
Income                              -6.00              -158.00
                                                                                                 Plaintiff !Exhibit

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                        Case 4:19-cv-00743-GAF Document 1-2 Filed 09/11/19 Page 18 of 19
                                                                        Electronically Filed - Clay - June 12, 2019 - 05:08 PM
                                                         19CY-CV06278




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Case 4:19-cv-00743-GAF Document 1-2 Filed 09/11/19 Page 19 of 19
